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            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT

Constellation Mystic               )
 Power, LLC, et al.                )
         Petitioners,              )
                                   )
           v.                      )         No. 21-1198, et al.
                                   )         (consolidated)
Federal Energy Regulatory          )
 Commission,                       )
        Respondent.                )


                UNOPPOSED MOTION TO GOVERN

     Under the Court’s October 7, 2022 order and Federal Rule of

Appellate Procedure 27, Petitioner Constellation Mystic Power, LLC

(“Mystic”) submits this motion to govern future proceedings. Mystic has

consulted with counsel for all other parties in this consolidated appeal.

No party objects to the proposal set forth below.

                             BACKGROUND

     These consolidated petitions originally sought review of four

Commission orders concerning the return on equity component of the

rates to be charged under a cost-of-service agreement for the continued

operation of at the Mystic Generating Station. See Constellation Mystic

Power, LLC, 176 FERC ¶ 61,019 (July 15, 2021); on reh’g 177 FERC

¶ 61,106 (Nov. 18, 2021), on further reh’g 178 FERC ¶ 61,116 (Feb. 18,

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2022), on further reh’g 178 FERC ¶ 62,028 (Jan. 18, 2022).

     On July 8, 2022, the Massachusetts Attorney General, petitioner

in 21-1223, the Connecticut Parties, petitioners in 21-1222 and 22-1001,

and Eastern New England Consumer Owned Systems, petitioner in 21-

1224, moved to hold this case in abeyance pending the issuance of the

Court’s decision in MISO Transmission Owners v. FERC, No. 16-1325, a

case concerning the Commission’s methodology for calculating the

appropriate return on equity. The Court granted that motion. See ECF

Doc. #1956639.

     On August 9, 2022, the Court issued its decision in MISO

Transmission Owners. The Court rejected certain challenges to the

Commission’s return on equity methodology, but vacated the underlying

orders and remanded the matter to the Commission because the Court

found one aspect of that methodology to be arbitrary and capricious.

See MISO Transmission Owners v. FERC, 45 F.4th 248 (D.C. Cir. 2022).

On the same day, the Court directed the parties in this proceeding to

file motions to govern by September 8, 2022. See ECF Doc. #1958472.

The parties agreed on a proposal and asked this Court to hold these

consolidated cases in a short abeyance pending final resolution of the



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MISO Transmission Owners case by this Court. The parties asked, as

relevant here, for this Court to direct that a new motion to govern

future proceedings be filed within three weeks of the issuance of the

mandate in MISO Transmission Owners. ECF Doc. #1962611, at 4.

     On October 7, 2022, after the mandate issued in MISO

Transmission Owners, this Court ordered these consolidated cases to

remain in abeyance, and directed the parties to file motions to govern

future proceedings by October 25. Order, ECF Doc. #1968166, at 2.

                              PROPOSAL

     All parties agree that this case should remain in abeyance

pending further proceedings in the MISO Transmission Owners case,

now on remand at the Commission. What the Commission does on

remand in the MISO Transmission Owners case could eventually

change the Commission’s position on some of the issues presented in

these consolidated appeals, including possibly leading the Commission

to seek a voluntary remand. At the same time, Mystic would oppose an

indefinite, lengthy abeyance given that these appeals focus on Mystic’s

cost recovery for a set period of time that has already begun and ends in

2024. Thus, the parties have agreed to seek a 90-day abeyance,



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reserving the right to seek further abeyance of this proceeding if the

MISO Transmission Owners case remains pending before the

Commission after that time.

     Accordingly, Mystic, without opposition, moves this Court for an

order: (1) keeping the consolidated petitions, No. 21-1198, et al., in

abeyance, and (2) directing that motions to govern future proceedings

be filed within 90 days.




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Dated: October 25, 2022                  Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

         Pursuant to Fed. R. App. P. 32(g), I certify that this filing complies

with the type-volume limitation of Fed. R. App. P. 27(d)(2)(C) because it

contains 567 words, excluding the parts exempted by Fed. R. App. P.

32(f).

         I further certify that this filing complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style

requirements of Fed. R. App. P. 32(a)(6) because this filing has been

prepared in Century Schoolbook 14-point font using Microsoft Word.



Dated: October 25, 2022                       /s/ Matthew A. Fitzgerald
                                              Matthew A. Fitzgerald

                                              Counsel for Constellation Mystic
                                              Power, LLC




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                     CERTIFICATE OF SERVICE

      I hereby certify that, on October 25, 2022, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



                                           /s/ Matthew A. Fitzgerald
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